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                            EXHIBIT C

   Summary of H&K fees by Professional
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                                          EXHIBIT C1

                      SUMMARY OF FEES BY PROFESSIONAL


                                                              Hourly
                                           H&K Office                        Total
            Name                Title                         Billing                     Total Fees
                                            Location                         Hours
                                                               Rate
      Josias N. Dewey         Receiver        Miami           $750.00         41.90          $31,425.00
      Jessica B. Magee        Partner         Dallas          $750.00        133.20          $99,900.00
      Scott F. Mascianica     Partner         Dallas          $750.00        206.40         $154,800.00
      Anjuli B. Woods         Partner       Denver/Los        $750.00          5.30           $3,975.00
                                             Angeles
      Justin Cohen            Partner         Dallas          $750.00         2.00               $1,500.00
      Lee S. Meyercord        Partner         Dallas          $750.00         1.70               $1,275.00
      Andrew W.               Associate       Miami           $450.00        178.80             $80,460.00
      Balthazor
      Dennis A. Gonzalez      Associate     Miami             $450.00        233.50         $105,075.00
      Alex M. Englander       Associate     Miami             $450.00        136.00          $61,200.00
      Elliot Magruder         Associate     Miami             $450.00         66.80          $30,060.00
      Amelia R. Occhino       Associate    Washington         $450.00          3.00           $1,350.00
                                             D.C.

                  Subtotal:                                                  1,008.60       $571,020.00
             (Less Fee Cap
                                                                                          $(123,445.00)
                 Discount)
                  TOTAL:                                                                    $447,575.00

                                                  Total Attorneys’ Fees:              $447,575.00
                                                  Attorneys’ Hours Billed:            1,008.60
                                                  Attorneys’ Blended Rate:            $443.76
                                                  Attorneys’ Hours Worked:            2,198.60
                                                  Attorneys’ Blended Rate:            $203.57


  1
    Exhibit C summarizes the professionals’ fees that were actually billed to H&K’s invoices. See
  Ex. E. Then, Exhibit C-1 provides a more detailed overview of discounts by professionals, and
  the impact that H&K’s discretionary discounts had on the effective hourly rates for each category
  of attorney at the firm.
